RECEIVED: Document #: 1 Filed: 05/09/13 Page 1 of 15 PagelD #:1

 

 

 

 

MAY 0°9 2013
THOMAS @. BRUTON UNITED STATES DISTRICT COURT
CLERK, U.S. DISTRICT CO R THE NORTHERN DISTRICT OF ILLINOIS
Delryo, Dukes-Smith
PO. Dox. 1364 |
13ev3485
Judge Joan H. Lefkow
LOGe lc Mecliaal Ceatey Magistrate Mary M. Rowland

Fyst Avenue.

ame e de lad L screshbers

COMPLAINT OF EMPLOYMENT DISCRIMINATION

1. This is an action for employment discrimination.

2. The plaintiff is De hora De ) Kes SMI Hh of the county of

(ly é K in the state of LL Le .
3. The defendant is 7 ms med ig a (le Wie / , whose street address

 

 

(city) Y \ Keyl Cc " (county) » Con Kc cat Li. (ZIP) ( ) ( Us 4
(Defendant’s telephone number) ( At k)-_ 2 ip- q | lO?

II The plaintiff sought employment or was employed by the defendant at (street address)
OOS First Avenue. (city) WY, yor)
(county) Woo (C (state) Vy (ZIP code) (01(44

  

5. The plaintiff [check one box]

- (a)L_] was denied employment by the defendant.

(v)L_] was hired and is still employed by the defendant.

cobd was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) Seale pibe/” , (day) T , (year) BOBS .

 

 
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7.1. (Choose paragraph 7.1 or 7.2, do NOT complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check one box]

[has not DW nas filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) uM the United States Equal amp Opporany Commission, on or about

(year) Oj 2.

(month) (day)
(ii) V | the Illinois Department of Human Rights, on or about
(month) a (day) | (year)

 

(b) If charges were filed with an agency indicated above, a copy of the charge is ttached. I YES. [| NO,

but plaintiff will file a copy of the charge within 14 days.
It is the policy of both the Equal Employmat Opportunity Commission and thé Illinois Department of Human

Rights to cross-file with the other agency all charges received. The plaintiff has no reason to believe that this

policy was not followed in this case. a

   

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of ployment Discrimination with the defendant asserting

LJ Yes (month) > Z = (year)
LJ No, did not file Complaint of Empld ment Discrimination

2. The plaintiff received a Final Agency Décision on (month)

(day)__—S (year)
c. Attached is a copy of the {

a. Complaint of Employment Dis¢rimination,

LJ YES LJ NO, but a copy will be filed within 14 days.
(ii) Final Agency Decision /
Lo yes LI No, bitta copy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)

 
 

10.

11.

12.

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(a)yL_] the United States Equal Employment Opportunity Commission has not issued a Notice of Right

tg Sue.
(b) re United States Equal Employment Opportunity Commission has issued a Notice of Right to

Sue, which was received by the plaintiff on (month) A (day) L&
(year) aU ) a copy of which Notice is attached to this complaint.

The defendant discriminated against the plaintiff because of the plaintiffs [check only those that apply]:

aL] Age (Age Discrimination Employment Act).

()L_] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

oL] Disability (Americans with Disabilities Act or Rehabilitation Act)

@L_] National Origin (Title VI of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
MA Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

(f)L_| Religion (Title VII of the Civil Rights Act of 1964)

(2)L_] Sex (Title VII of the Civil Rights Act of 1964)
If the defendant is a state, county, municipal (city, town or village) or other local governmental agency,

plaintiff further alleges discrimination on the basis of race, color, or national origin (42 U.S.C. § 1983).
Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims by 28

U.S.C.$1331, 28 U.S.C.$1343(a)(3), and 42 U.S.C.§2000e-5(£)(3); for 42 U.S.C.$1981 and §1983 by
42 U.S.C.$1988; for the A.D.E.A. by 42 U.S.C.§12117; for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply]
(a)

(b)_V terminated the plaintiff's employment.
OL] failed to promote the plaintiff.
(a)L_] failed to reasonably accommodate the plaintiffs religion.

iled to hire the plaintiff.

(e) failed to reasonably accommodate the plaintiffs disabilities.
(f) failed to stop harassment;

(g) retaliated against the plaintiff because the plaintiff did something to assert rights protected by
the laws identified in paragraphs 9 and 10 above; ,

(ny [V] other (specify): Plank 4 é I le ol With EEL
Ww = a0il due fo raeal ana
disahili Ge, chcevumuatiud, HMantLé wis

v

 

 

 

 

 

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and tiled with CCOG 4Gairt Sith &

ret fhakcy)

 
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13. The facts supporting the plaintiff's claim of discrimination are as follows:

Cleléer intluded

 

 

 

 

 

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully discriminated

against the plaintiff.
15. The plaintiff demands that the case be tried by a jury. U ves LJ NO
16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check only
those __ that apply|

a)L_] Direct the defendant to hire the plaintiff.

wo Direct the defendant to re-employ the plaintiff. qrothr foeeh a)

OL] Direct the defendant to promote the plaintiff,

aL] Direct the defendant to reasonably accommodate the plaintiff's religion.

@L] Direct the defendant to reasonably accommodate the plaintiff's disabilities.

pL] Direct the defendant to (specify):  Gue f layth & é G
leleyrot Reimmeadahon ond g

 

 

 

oi If available, grant the plaintiff appropriate injunctive relief, lost wages, liquidated/double
damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
judgment interest, and costs, including reasonable attorney fees and expert witness fees.

(h)

Grant such other relief as the Court may find appropriate.

Duman. d\je- dankd

=

Plaintiff's signature

Nebyn Jules: Sint)

Plaintiffs name

 
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Plaintiffs street address De boa D U | (5 Sm { £ h
PO, Box BOY

City (\ | ir HO Ot j State LL ZIP ( C40

Plaintiff's telephone number 713) (o/ [- (74 4

Date: SIK [2015
Case: 1:13-cv-03485 Document #: 1 Filed: 05/09/13 Page 6 of 15 PagelD #:6

May 8. 2013
To: Northern District Court

For thirty one years | have been a Respiratory Therapists | have worked at mostly large hospitals, Rush
Presbyterian St Lukes’s Hospital in Chicago, IL. | have never received a final warning or have | ever been
suspended or discharged from my job that changed on September 12, 2012. | was discharged from
Loyola Medical Center where the letter | received on September 12, 2012 stated | was terminated on
September 7, 2012 and the letter was typed on September 10,2012. | was sent home on September 7,
2013 and was told | was suspended by Mr Robert Obias pending investigation.

The day | was suspended on September 7,2012 | went to Human Resources and ask to speak to Helen
Moore in Human Resources, the receptionist went in and came back and informed me Ms. Moore was
unaware of my suspension until a couple of minute’s ago on that day. | ask to speak to Mr. Richard
Bacchi, Head of employee relations, | was told he was in a meeting and ! spoke to Pamela Flectcher
instead who is also in employee relations, | told her | had been suspended and would like to have this in
writing, Pamela Fletcher went to the back of human resources and came back and told me that Mr.
Bacchi was out of his meeting. | was told by Mr. Bacchi that ! could be suspended pending investigation
and it did not have to be in writing. | left human resources unescorted.

| had to go to EEOC in 2011 | was taken off of work in January, 2011 due to work restriction written by
my neurosurgeon, Robert Levy MD., wrote a note restricting me from lifting more than 30 Ibs due to me
having more pain in my neck | had a spinal fusion in April 1, 2001. | had to go Occupational Health for
this restriction to be approved, | was told by my manager at the time John Cronin. Occupational Health
informed my neurosurgeon that they needed to know how far | could walk and how much weight |
could lift he informed Loyola Medical Center if the needed to know they should have me take a
Functional Capacity test. | was sent home by Occupational Health and told not to return back to work
until my restriction was clarified. | waited to hear from Loyola Medical Center concerning this matter
and also called everyday to see if | could return back to work, when | received no response | ask my
primary, Cheryl Wilkes could she write could she write me an order so | could do a Funtional Capacity
test. | had the Functional Capacity test and was released to return to work by the Occupational
Therapist from RIC who administered the test, My primary, Cheryl WilkesMD., also released me to
return to work, my neurosurgeon, Robert LevyMD., who also did my surgery also released me to return
to work. | and one other Respiratory Therapist had to fulfill this requirement, Diane Hunter, no other
therapist had to do this in 2011. | went to EEOC to try and get my job back after two and half months
without and response from Occupational Health to return to work and | was told | could not do
Respiratory Therapy anymore now the doctor who came up with this conclusion never examined me. |
was given the right to sue and my allegations were investigated which the findings were in my favor. |
decided to mediate with Loyola Medical Center through EEOC. | was given my back pay and a temporary
positon in Pulmonary function and in six months it would be decided if | would keep the position in
Pulmonary function testing which | applied for the position before | was taken off of work and | was

given the Pulmonary Function testing position after six months. While working in Pulmonary function

 
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lab | have returned and worked in the Respiratory Therapy department when the Respiratory Therapy
department was short staffed doing floor therapy.

January, 2012 the climate changed for me in the Pulmonary function lab. | was being harassed nonstop
which sent me back to EEOC. | was told by the representative at EEOC that it was discrimination and
retaliation the case number is 440-2012-2094 | was given the right to sue. | chose not to being a single
mother | thought it would effect my career.

| contacted EEOC again in September 24,2012. | was fired on September 12,2012 | received a letter
stating | was fired on September 7, 2012 which | received this letter on September 12,2012. | was sent
home on September 7,2012 which | received this letter on September 12, 2012. | was sent home on
September 7, 2012 after assisting with the bronchoscopy. | was told by Diane Duffie that Robert Obias,
Manager of Respiratory Therapy and Pulmonary function testing wanted to talk to me. | was told by
Robert Obias | was suspended pending investigation due to an error code on a flow volume loop
pulmonary function test did on August 27, 2012. The day | did my patient’s test on August 27,2012 at
14:00 pm the patient had an order for a complete pulmonary function test which consist of flow volume
loop test, body plethysomograph, and diffusion test, | did four flow volume loop test and three of the
flow volume loop test had no errors and one of the flow volume loop test had an error | did not send a
test with an error coded, also the Sensormedic machine will pick the best test. The test with the error
code had a 74%FEV1/FVC with this number | would have given the patient a pre and post test
bronchialdilator. My annual review in 2011 and mid review in June 2012 showed nothing wrong with
my work performance. Diane Duffie could have given me the same courteousy she has given other
technicians doing Pulmonary function testing. Ms. Duffie has called me to correct the test of other
technicians. If my allegations are investigated | evaluated and corrected test for white co-workers as
weil as minority co-workers who all of us answer to Diane Duffie our coordinator for the Pulmonary
function lab, one technician is Brian Borger a )Pulmonary Function Tech who worked out of the registry
who is white | made corrections on7/29/2012, Kathy Seuss pulmonary function tech who also works
through the registry was sending test with negative residual volume on body plethesmyograph test and
she also works for Diane Duffie , which was discussed in a meeting on July 6,2012 with Robert Obias,
Manager of Respiratory Therapy and Pulmonary function testing, and our Medical Director for
Pulmonary function testing Sean Forysthe Md. Ramona M. who is white was doing erroneous teat and
was retrained she was the Pulmonary function tech for Oakbrook Terrace and she worked in the
Pulmonary function lab at Loyola Medical Center in Outpt Clinic she was retrainded. Peggy Jones had
erroneous test in Oakbrook Terrace. There has been a problem with the machine in Oakbrook Terrace
Diane Duffy even tested herself in 2012 due to Dry Charles Alex being upset about the machine in
Oakbrook Terrace and said the two machine’s in Output Clinic at Loyola Medical Center results were

similar but there was a big difference with the results coming from Oakbrook Terrace Clinic. While | was
doing my patients test on August 27,2012 the computer froze up on me and had to be rebutted which
was not unusual for this computer it was the last computer not changed out but it need to be change.
The computer in Oakbrook Terrace had to be changed out in 2012 due to the computer continuously
freezing up and having erroneous test. The computer in the small lab in Outpt Clinic at Loyola Medical
Center continued to freeze up and had to be changed out in June, 202 the internet was also taken off of

 
 

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both computers to try and stop the computers from freezing up and being rebotted. The patient | did
that day on August 27, 2012 was a regular a lung transplant patient | had did this patient’s test before |
worked the 09:00am to 05:30pm shift that is part of my job to evaluate and proofread the Pulmonary
function test and make corrections as was told to me when | was being trained to do Pulmonary
Function testing and if | cannot | call Diane Duffie and ask her to make the corrections. If we have a test
and we cannot make the corrections as was told to me we can copy the better test and fax the test to
the doctor. July 2011 Trinity Hospital took over Loyola Medical Center the equipment was labeled with
new stickers this label was to identify the computers and body box.as belonging to Trinity hospital but
normally this equipment is checked by biomedical to make sure the equipment is functioning. The
computer | had been using in the big lab had to be shut down on September 5, 2012 and replaced. The
machine’s no longer have a warranty on the body box by sensormedics. The repairs have been done by
Matthew Diamond manager of Respiratory Therapy equipment in the department and Yash Giria
Pulmonary Function Tech.

Every week starting in January of 2012 if it was not attendance it was as if | could no longer do my job in
managements eyes it got worse after June 2012 after my deadline for my right to sue with the
EEOC,even though ! was doing my job to the best of my ability it was like my file was being padded and |
had obtained a FMLA for attendance.

| received a final warning for doing a sweat test where | typed in the wrong amount for a sample. | had
more than enough for my patient test two samples from each arm. We can only get 10 micro-liters in
the pipette which we put in 4 cc acetic acid to analyze. The protocol is to have the patient return to do
the test again if there is an error but the doctor chose not to have the patient return. The patient was
not harmed | was doing sweat test prior to this without any errors no complaints working
independently. Mr. Obias gave me a final warning and did not inform me | had ten days to respond to
the final warning. | wrote a letter in response to this final warning on June 21, 2012 which | gave to
Pamela Fletcher in human resources. | received a final warning stating | refused or failure to abide by
policies or regulation a failure to fulfill my job duties. | have never in thirty one years refused to abide
by any policies my employer’s have set up or refused to do my job and this is a false allegation. Mr.
Obias does not do Sweat testing or Pulmonary function testing or calibrate the chloridometer. | had to
do a Sweat test on Robert Obias June 7,2012 without any errors on the test with my coordinator Diane
Duffie observing. We did the test on June 21, 2012 | completed the Sweat test but Mr. Obias refused to
rescend the final warning. | felt my file was being padded due to me going to EEOC.

Sincerely

Debora Dukes-Smith
; . Case: 1:13-cv-03485 Document #: 1 Filed: 05/09/13 Page 9 of 15 PagelD #:9
EEOC Form 161 (14/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To; Debora Duke-Smith From: Chicago District Office
P.O Box 1369 _. 500 West Madison St
Chicago, IL 60690 Suite 2000

‘Chicago, IL 60661

 

r | On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Represeniative Telephone No.

Carol Milazzo,
440-2012-03057 AMENDED investigator (312) 869-8133

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

 

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent empioys less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

AoOooo

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

LU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 vears)
before you file suit may not be collectible.

- On behalf of the Commission

PR owe 21:2 lao
Enclosures(s) ohn P. Rowe, (Date Mailed)

istrict Director
ce. LOYOLA UNIVERSITY MEDICAL CENTER
th OTCV : EP jigg: i f 15 PagelD #:10
ccoe cms (pee 3°: 1:13-cv-03485 Document f 3) APPS 100 age

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act Zh) / ik. th if
Statement and other information before completing this form. oe LJ] FEPA fF 0 / 3 (6 +44
EEOC 440-2012-03057
Illinois Department Of Human Rights and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Ms. Debora Duke-Smith (773) 671-1753 09-17-1958
Street Address City, State and ZIP Code

P.O Box 1369, Chicago, IL 60690

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
LOYOLA UNIVERSITY MEDICAL CENTER 500 or More (708) 216-9000
Street Address City, State and ZIP Code

2160 S. First Avenue, Maywood, IL 60153

 

 

 

 

 

Name . No. Employees, Members Phone No, (include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

RACE [| COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 09-07-2012
RETALIATION [| AGE [| DISABILITY [| GENETIC INFORMATION

OTHER (Specify) / [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s)):
| was hired by Respondent on or around October 10, 2010. My most recent position was Pulmonary Function
Technician. On or around March 21, 2012, | filed EEOC Charge Number: 440-2012-02094, alleging that |
was retaliated against. On or around September 7, 2012, | was discharged whereas my non-Black co-
workers who have committed the same or similar infractions, have not.

| believe | have been discriminated against because of my race, Black, and that | was retaliated against for
engaging in protected activity, in violation of Title VII of the Civil Rights Act of 1964, as amended.

SEP 24 2012

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY —- When necessary for State and Local Agency Requirements
will advise the agencies if 1 change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to

 

 

| declare under penaity of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

( ) / . SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Sep 24, 2012 LY ODL |, Ascdotts (month, day, year
a as .

Date Charging Party Signature 1.

 

 

 

 
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EEOC Form 5 (41/09)

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [ FEPA
Statement and other information before completing this form.

[x] EEoc _ 440-2012-03057

Illinois Department Of Human Rights and EEOC
. State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code) Date of Birth
Ms. Debora Duke-Smith (773) 671-1753 09-17-1958

 

 

 

Street Address City, State and ZIP Code

P.O Box 1369, Chicago, IL 60690

 

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Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
LOYOLA UNIVERSITY MEDICAL CENTER 500 or More (708) 216-9000
Street Address City, State and ZIP Code .

2160 S. First Avenue, Maywood, IL 60153

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

x | RACE COLOR | | sex | RELIGION | | NATIONAL ORIGIN 09-07-2012
Leneeeeomemael —s ees
RETALIATION [| AGE [| DISABILITY | GENETIC INFORMATION
OTHER (Specify) [| CONTINUING ACTION

 

 

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workers who have committed the same or similar infractions, have not.

| believe | have been discriminated against because of my race, Black, and that | was retaliated against for
engaging in protected activity, in violation of Title VII of the Civil Rights Act of 1964, as amended.

SEP 24 2012

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will .
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE-OF COMPLAINANT

+ SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
Sep 24,2012 _ a >] (month, day, year)

Date Charging Party Signature

 

 

 

 

 
 

 

o I EE
EEUG Form > (11/3) .
. VAS RREE OF D OM TINSTON' ed OS70S; che age ele te y AOE ke dhicyfe s) Charge No(s):

This form is affected:by the Privacy Act of 1974. See enclosed Privacy Act. [| FEPA AMENDED

 

 

 

 

 

 

 

Statement and’ other informatior before completing this form.
: EEOC 440-2012-03057
Illinois Department Of Human Rights and EEOC
State or local Agency, if any :
Name (indicate Mr., Ms., Mrs.} . Home Phone (inci. Area Code) Date of Birth
Ms. Debora Duke-Smith (773) 671-1753 09-17-1958
‘ Street Address City, State and ZIP Code ,

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Name No. Employees, Members | Phone No. (Include Area Code)
Street Address. City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE -
” Earliest Latest

 

RACE [: | COLOR | SEX | | RELIGION [| NATIONAL ORIGIN 09-07-2012
RETALIATION | | AGE [| DISABILITY [| GENETIC INFORMATION

OTHER (Specify) [| CONTINUING ACTION

=

 

 

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Technician. On or around March 21, 2012, | filed EEOC Charge Number: 440-2012-02094, alleging that |
was retaliated against. On or around September 7, 2012, | was discharged whereas my non-Black co-
workers who have committed the same or similar infractions, have not. | filed the instant charge on or about
September 24, 2012. Subsequently, Respondent has opposed my claim for unemployment benefits,
Respondent has withheld my final paycheck, and Respondent has transmitted one or more negative job
references to potential employers.

| believe | have been discriminated against because of my race, Black, and that | was retaliated against for
engaging in protected activity, in violation of Title VII of the Civil Rights Act of 1964, as amended.

 

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary NUP “"° soa” Requirements
will advise the agencies if | change my address or phone number and | will Z 20 2

cooperate fully with them in the processing of my charge in accordance with their
procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, ‘informationiand belief: i...

SIGNATURE OF COMPLAINANT

 

 

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE

Oct 12, 2012 (month, day, year)

Date Charging Party Signature

 

 

 

 

 

 
 

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ILLINOIS DEPARTMENT OF

#Human Rights

Pat Quinn, Governor
Rocco J. Claps, Director

 

November 7, 2012

Ms. Debora Duke-Smith °
P.O. Box 1369
Chicago, iL 60690-1369

 

Re: Ms. Debora Duke-Smith v. Loyola University Medical Center - 131107028

Dear Complainant:

The United States Equal Employment Opportunity Commission (EEOC) and the Illinois Department of Human
Rights (Department) are parties to a cooperative agreement. Under this agreement, when you filed your charge
of discri mination with the EEOC, a copy of the charge was automatically filed with the Department. The
Department is keeping a copy of your EEOC charge on file to preserve jurisdiction under Illinois law.

You filed your discrimination charge initially with the EEOC, however, the Department can consider investigating
your charge following the EEOC's investigation. Should you want the Department to take this action, you must
first wait for the EEOC to complete its investigation of your charge and send you its written findings from its
investigation. Once you receive the EEOC’s findings, you have 30 days to send the Department a copy of the
findings. Please also submit a one sentence written statement requesting that the Department investigate your
charge and include the above-referenced control number. Your copy of the EEOC’s findings and your ietter
requesting that the Department investigate the charge may be submitted by either of the following methods:

By Mail: Your EEOC findings and written decision should be sent via U.S. Postal
certified mail, return receipt requested, to: Illinois Department of Human
Rights, Attn: EEOC Referred Charges/Intake Unit, 100 W. Randolph St. ;
Ste. 10-100, Chicago, IL 60601. : |
in Person: ‘You must bring an original and one copy of your EEOC findings and |
letter. The Department will Stamp the copy and it will be returned to you |
for your records. )

If you have already received the EEOC’s findings, you should send the Department a copy of the findings along
with your letter requesting that the Department investigate your EEOC charge.

Upon receipt of your documents, the Department will mail you a letter with additional information about your case.
If you request the Department to investigate your EEOC charge, the Department will review evidence obtained
during EEOC’s investigation; that evidence may be disclosed pursuant to the Department's rules and regulations.

The 365-day time period for the Department to investigate your EEOC charge begins to run when EEOC issues
its investigation findings. Your failure to timely provide the EEOC's findings to the Department will result only in
the Department closing your file. This process does not affect the investi ation of your charge at EEOC. If
you do not wish to proceed with the Department, you do not need to take any further action.

This letter does not apply to any settlement of this charge the parties have made with the EEOC.

If you have any questions, please contact Thomas F. Roeser, Pre-Investigations Coordinator, at

(312) 814-6295. Please do not contact the EEOC.

 

ILLINOIS DEPARTMENT OF HUMAN RIGHTS
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Rev: 10/11

100 West Randolph Street, Suite 10-100, Chicago, IL 60601, (312) 814-6200, TTY (217) 785-5125, Housing Line (800) 662-3942
222 South College Street, Room 101, Springfield, |. 62704, (217) 785-5100
2309 West Main Street, Marion, iL 62959 (618) 993-7463 —
www.state.il.us/dhr

 
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ILLINOJS DEPARTMENT OF

4Human Rights

APRIL 10, 2013

NOTICE OF CHARGE
DEBRA DUKE-SMITH
P O BOX = 1369
CHICAGO, IL 60690

RE: CHARGE NO.:  2013-CR-2644
RESPONDENT: LOYOLA UMIVERSITY MEDICAL
Complaint or Civil Action Filing Dates: 03/14/14 THROUGH 06/11/14

Dear Complainant:

You have chosen to have the discrimination charge you previously filed with the U.S. Equal
Employment Opportunity Commission ("EEOC") investigated by the Illinois Department of
Human Rights ("Department") under the Illinois Human Rights Act. A copy of the charge has
been served on the Respondent. Keep this letter for reference if you need to telephone or
come to the Department.

If your charge involves the basis of disability, the Department requests that two additional
forms be completed to determine whether the Department has jurisdiction over your identified
. medical condition. If we do not have copies of these documents in your file, we have included
copies with this notice.

(1) Medical Questionnaire.
Please give the medical questionnaire to your physician for completion. Request your
physician return the completed medical questionnaire by mail to the Department's
address below within 30 days of your receipt of this notice; and

(2) Consent Form.
The consent form allows the Department to review your physician’s documentation.
Please fill out the consent form and return it to the Department, again, within 30 days of
your receipt of this notice.

If your charge does not involve the basis of disability, then the medical questionnaire and
consent forms are not needed and are not enclosed.

The Department’s role is to conduct a neutral investigation of the allegations in your
charge. It is your responsibility to cooperate with the Department's investigation and
provide all pertinent information you have concerning the case by the dates
requested.

100 West Randolph Street, Suite 10-100, Chicago, illinois 60601, (312) 814-6200, TTY (866) 740-3953, Housing Line (800) 662-3942
222 South College Street, Room 101, Springfield Illinois 62704, (217) 785-5100
2309 West Main Street, Marion IL 62959 (618) 993-7463
www. illinois.gov/dhr
Case: 1:13-cv-03485 Document #: 1 Filed: 05/09/13 Page 15 of 15 PagelD #:15

An investigator will contact you after the case is assigned. The Department must
complete the investigation of your case by issuing its report of findings within 365
days from the date the EEOC issued its decision on your charge. The Department's
investigation time may be extended if you and Respondent agree in writing.

If the Department does not complete the investigation of your case by timely issuing its report
of findings, you may either file a complaint with the Human Rights Commission or commence a
civil action in the appropriate circuit court within 90 days after the expiration of the 365 days (or
the extended time). We have calculated the time above (see Complaint or Civil Action Filing
Dates). While we have made this calculation with the best of intentions, errors can occur. The
Human Rights Commission has ruled that it is your responsibility to count the number of days
properly. If you file a complaint or commence a civil action in circuit court outside this 90-day
period, your complaint or civil action may be deemed untimely and dismissed.

Once 455 days (365 days [or the extended time] plus 90 days) have passed, the Department
must dismiss your charge with prejudice without any further right to proceed if you have not
filed a complaint with the Human Rights Commission, or commenced a civil action in the
appropriate circuit court. Therefore, you may wish to contact an attorney to decide the best
way for you to handle your case.

If you file a complaint with the Human Rights Commission, the form of the complaint must be in
accordance with Section 7A-102(F) of the Human Rights Act. You must serve a copy of the
complaint filed with the Human Rights Commission on the Department on the same day that
you file a complaint with the Commission. The Human Rights Commission will then schedule a
hearing for your case before an Administrative Law Judge.

If you commence a civil action in a circuit court, the form of the complaint must be in
accordance with the Illinois Code of Civil Procedure. Please also serve a copy of your
complaint on the EEOC: 500 West Madison, Ste. 2000, Chicago, IL 60661. If you file a
complaint with the Human Rights Commission, you may not later commence a civil action in
circuit court.

You must advise the Department of all changes of name, address, or telephone
numbers. If you do not do so, the Department may dismiss your case if it cannot locate
you.

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